                      THE THIRTEENTH COURT OF APPEALS

                                    13-16-00201-CV


                  A New Hope Health Care, Inc. and Esperanza Pena
                                        v.
                                   Gisel Garcia


                                  On appeal from the
                  County Court at Law No 6 of Hidalgo County, Texas
                           Trial Cause No. CL-14-1974-F


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be affirmed. The Court

orders the judgment of the trial court AFFIRMED. Costs of the appeal are adjudged

against appellants.

      We further order this decision certified below for observance.

September 1, 2016
